                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:20-CV-411-RJC-DCK

 MICHAEL ALLEN, as Administrator of the                 )
 Estate of Juventino Mata Hernandez,                    )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )              CONSENT
                                                        )       CONFIDENTIALITY ORDER
                                                        )
 USA HOIST COMPANY, INC., GILBANE,                      )
 INC., CAROLINA ELEVATOR SERVICE,                       )
 INC., and GILBANE BUILDING COMPANY,                    )
                                                        )
                 Defendants.                            )
                                                        )

         Whereas, the parties to this Consent Confidentiality Order, have stipulated that certain

discovery material is and should be treated as confidential, and have agreed to the terms of this

order; IT IS, THEREFORE, ORDERED:

         1.     Scope. All documents produced in the course of discovery, all responses to

discovery requests and all deposition testimony and deposition exhibits and any other materials

which may be subject to discovery (hereinafter collectively “documents”) shall be subject to this

Order concerning confidential information as set forth below.

         2.     Form and Timing of Designation. Confidential documents shall be so designated

by placing or affixing the word “CONFIDENTIAL” on the document in a manner which will not

interfere with the legibility of the document and which will permit complete removal of the

CONFIDENTIAL designation.

         Documents shall be designated CONFIDENTIAL prior to, or contemporaneously with, the

production or disclosure of the documents. Inadvertent or unintentional production of documents




      Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 1 of 9
without prior designation as confidential shall not be deemed a waiver, in whole or in part, of the

right to designate documents as confidential as otherwise allowed by this Order.

       3.      Documents Which May be Designated Confidential. Any party may designate

documents as confidential but only after review of the documents by an attorney who has, in good

faith, determined that the documents contain information protected from disclosure of the

documents, using the form attached hereto at Attachment A which shall be executed subject to the

standards of Rule 11 of the Federal Rules of Civil Procedure. Information or documents which

are available in the public sector may not be designated as confidential.

       4.      Depositions.     Portions of depositions shall be deemed confidential only if

designated as such when the deposition is taken or within seven business days after receipt of the

transcript. Such designation shall be specific as to the portions to be protected.

       5.      Protection of Confidential Material.

               a.      General Protections. Documents designated CONFIDENTIAL under this

Order shall not be used or disclosed by the parties or counsel for the parties or any other persons

identified below (¶5.b.) for any purposes whatsoever other than preparing for and conducting the

litigation in which the documents were disclosed (including any appeal of that litigation).

               b.      Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any documents designated CONFIDENTIAL under

the terms of this Order to any other person or entity except as set forth in subparagraphs (1)-(5)

below, and then only after the person to whom disclosure is to be made has been provided a copy

of the Order and notified of its application to them. Subject to these requirements, the following

categories of persons may be allowed to review documents which have been designated




                                                 2
      Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 2 of 9
CONFIDENTIAL pursuant to this Order, so long as they are provided a copy of this Order with

the documents and are informed that they are bound by the Order:

                       (1)     counsel and employees of counsel for the parties who have

               responsibility for the preparation and trial of the lawsuit;

                       (2)     parties and employees of a party to this Order;

                       (3)     court reporters engaged for depositions and those persons, if any,

               specifically engaged for the limited purpose of making photocopies of documents;

                       (4)     consultants, investigators, adjusters, insurance representatives or

               experts employed by the parties or counsel for the parties or acting on behalf of the

               parties to assist in the preparation, evaluation and trial of the lawsuit; and

                       (5)     deponents, witnesses, or any other persons to whom counsel

               reasonably believes that the provision of the material marked as CONFIDENTIAL

               will aid in the prosecution or defense of the present action.

               c.      Control of Documents. Counsel for the parties shall take reasonable

efforts to prevent unauthorized disclosure of documents designated as CONFIDENTIAL pursuant

to the terms of this Order.

               d.      Copies.     All copies, duplicates, extracts, summaries, or descriptions

(hereinafter referred to collectively as “copies”), of documents designated as CONFIDENTIAL

under this Order or any portion of such a document, shall be immediately affixed with the

designation “CONFIDENTIAL” if the word does not already appear on the copy. All such copies

shall be afforded the full protection of this Order.

       6.      Filing of Confidential Materials. In the event a party seeks to file any material

that is subject to protection under this Order with the court, that party shall take appropriate action



                                                  3
       Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 3 of 9
to ensure that the documents receive proper protection from public disclosure including: (1) filing

a redacted document with the consent of the party who designated the document as confidential;

(2) where appropriate (e.g. in relation to discovery and evidentiary motions), submitting the

documents solely for in camera review; or (3) where the preceding measures are not adequate,

seeking permission to file the document under seal. Absent extraordinary circumstances making

prior consultation impractical or inappropriate, the party seeking to submit the document to the

court shall first consult with counsel for the party who designated the document as confidential to

determine if some measure less restrictive than filing the document under seal may serve to provide

adequate protection. This duty exists irrespective of the duty to consult on the underlying motion.

Nothing in this Order shall be construed as a prior directive to the Clerk of Court to allow any

document to be filed under seal. The parties understand that documents may be filed under seal

only with the permission of the court.

       7.      Greater Protection of Specific Documents. No party may withhold information

from discovery on the ground that it requires protection greater than that afforded by this Order

unless the party moves for an Order providing such special protection.

       8.      Challenges to Designation as Confidential. Any CONFIDENTIAL designation

is subject to challenge. The following procedures shall apply to any such challenge:

               a.      The burden of proving the necessity of a CONFIDENTIAL designation

remains with the party asserting confidentiality.

               b.      A party who contends that documents designated as CONFIDENTIAL are

not entitled to confidential treatment shall give written notice to the party who affixed the

designation of the specific basis for the challenge. The party who so designated the documents

shall have fifteen (15) days from service of the written notice to determine if the dispute can be



                                                    4
      Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 4 of 9
resolved without judicial intervention and, if not, to move for an Order confirming the

CONFIDENTIAL designation.

               c.      Notwithstanding any challenge to the designation of documents as

confidential, all material previously designated CONFIDENTIAL shall continue to be treated as

subject to the full protections of this Order until one of the following occurs:

                       (1)      the party who claims that the documents are confidential fails to

               move timely for an Order designating the documents as confidential as set forth in

               paragraph 8.b. above; or

                       (2)      the court rules that the documents should no longer be designated as

               confidential information.

               d.      Challenges to the confidentiality of documents may be made at any time

and are not waived by the failure to raise the challenge at the time of initial disclosure or

designation.

       9.      Treatment on Conclusion of Litigation. Order Remains in Effect. All provisions

of this Order restricting the use of documents designated CONFIDENTIAL shall continue to be

binding after the conclusion of the litigation unless otherwise agreed or ordered.

       10.     Order Subject to Modification. This order shall be subject to modification on

motion of any party or any other person who may show an adequate interest in the matter to

intervene for purposes of addressing the scope and terms of this Order. The Order shall not,

however, be modified until the parties shall have been given notice and an opportunity to be heard

on the proposed modification.

       11.     No Judicial Determination. This Order is entered based on the representations

and agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall



                                                  5
       Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 5 of 9
be construed or presented as a judicial determination that any specific document or item of

information designated as CONFIDENTIAL by counsel is subject to protection under Rule 26(c)

of the Federal Rules of Civil Procedure or otherwise until such time as a document-specific ruling

shall have been made.

         12.   Persons Bound. This Order shall take effect when entered and shall be binding

upon all parties in the above referenced action, their counsel of record, and their respective law

firms.

         IT IS SO ORDERED.

                                  Signed: January 12, 2021




                                                  6
         Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 6 of 9
SO MOVED AND CONSENTED:

/s/Christopher M. Kelly
Christopher M. Kelly (N.C. Bar #24346)
Caroline B. Barrineau (N.C. Bar # 51571)
GALLIVAN, WHITE & BOYD, P.A.
6805 Morrison Blvd., Suite 200
Charlotte, NC 28210
(704) 552-1712 – Phone
(704) 362-4850 – Fax
ckelly@gwblawfirm.com
cbarrineau@gwblawfirm.com

Attorneys for Defendant,
USA Hoist Company, Inc.


WE CONSENT:


/s/Amanda A. Mingo
Amanda A. Mingo
RAWLS, SCHEER, CLARY & MINGO, PA
1011 East Morehead Street, Suite 300
Charlotte, NC 28204
(704) 376-3200 – Phone
(704) 376-2716 – Fax
Amingo@rscmlaw.com

and


/s/Fred W. DeVore, III
Fred W. DeVore, III
DEVORE, ACTON & STAFFORD, PA
438 Queens Road
Charlotte, NC 28207
(704) 377-5242 – Phone
(704) 332-2825 – Fax
fdevore@devact.com

Attorneys for Plaintiff




                                           7
       Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 7 of 9
WE CONSENT:

/s/Gregory C. York
Gregory C. York
YORK WILLIAMS, LLP
115 N. Torrence Street
Charlotte, North Carolina 28204
(704) 731-7765 – Direct
(704) 375-6895 – Fax
gyork@yorkwilliamslaw.com

Attorney for Defendant,
Carolina Elevator Service, Inc.


WE CONSENT:

/s/David L. Brown
David L. Brown
GOLDBERG SEGALLA
800 Green Valley Road, Suite 302
Greensboro, NC 27408
(336) 419-4902 – Direct
(336) 419- 4950 – Fax
Email: dbrown@goldbergsegalla.com

Attorneys for Defendants,
Gilbane, Inc. and Gilbane Building Company




                                             8
      Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 8 of 9
                                ATTACHMENT A
                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 MICHAEL ALLEN as Administrator for the              )
 Estate of Juventino Mata Hernandez,                 )
                                                     )
                Plaintiff,                           )
                                                     )
 v.                                                  )     CERTIFICATION OF COUNSEL OF
                                                     )     DESIGNATION OF MATERIAL AS
 USA HOIST COMPANY, INC.; CAROLINA                   )            CONFIDENTIAL
 ELEVATOR SERVICE, INC.; GILBANE                     )
 BUILDING COMPANY and GILBANE, INC.,                 )
                                                     )
               Defendants.                           )
                                                     )

        Documents produced herewith [whose bates numbers are listed below (or) which are
listed on the attached index] have been marked as CONFIDENTIAL subject to the Consent
Confidentiality Order entered in this action which is dated _________________, 2021.

       By signing below, I am certifying that I have personally reviewed the marked documents
and believe, based on that review, that they are properly subject to protection under the terms of
Paragraph 3 of the Consent Confidentiality Order.

       I am admitted to the Bar of the United States District Court for the Western District of
       North Carolina.

⁬      I am a member of the Bar of the State of North Carolina.               My Bar number is
       __________________.

⁬      I am not a member of the Bar of the State of North Carolina but am admitted to the bar of
       one or more states. The state in which I conduct the majority of my practice is
       _____________ where my Bar number is _______________.

       I understand that by completing this certification I am submitting to the jurisdiction of the
       State of North Carolina and the United States District Court for the Western District of
       North Carolina as to any matter relating to this certification.

_______________                                              ________________________
Date                                                         Signature of Counsel

                                                             ________________________
                                                             Printed Name of Counsel


                                                 9
      Case 3:20-cv-00411-RJC-DCK Document 32 Filed 01/12/21 Page 9 of 9
